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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

Vs. CASE NO. 3:20-cr-122-BJD-PDB

BILLY JOE MINSHALL
/

ACCEPTANCE OF PLEA OF GUILTY,
ADJUDICATION OF GUILT, AND
NOTICE OF SENTENCING

 

The Court adopts the Report and Recommendation Concerning Plea of
Guilty (Doc. 42) entered by the Honorable Patricia D. Barksdale, United States
Magistrate Judge, to which the fourteen day objection period was waived.
Thus, the Court accepts Defendant’s plea of guilty to Counts One and Two of
the Indictment, and Defendant is adjudged guilty of such offenses.

SENTENCING for the Defendant is hereby scheduled for July 22,
2021, 10:00 AM, before the undersigned in the United States Courthouse,
Courtroom No. 12C, Twelfth Floor, 300 North Hogan Street, Jacksonville,
Florida 32202. The Court notifies any defendant currently on pretrial
release that pursuant to 18U.S.C. § 3143(a)(2), the Court is required to
remand a defendant into custody at sentencing in drug cases and
cases involving crimes of violence. However, notwithstanding this

provision, pursuant to 18 U.S.C. § 3145(c), the Court may allow an
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otherwise qualified defendant to voluntarily surrender for
“exceptional reasons.”

IF THE PARTIES WANT THE COURT TO CONSIDER ANY MOTION
FOR DEPARTURE OR OTHER WRITTEN MATERIAL OTHER THAN THE
PRE-SENTENCE INVESTIGATION REPORT, IT MUST BE SUBMITTED
NO LATER THAN THREE (3) BUSINESS DAYS PRIOR TO THE DATE
OF SENTENCING. IN ADDITION, IF ANY PARTY BELIEVES THAT THE
SENTENCING MAY TAKE LONGER THAN ONE HOUR, PLEASE NOTIFY
THE UNDERSIGNED’S CHAMBERS IMMEDIATELY.

NOTE: All persons entering the Courthouse must present
photo identification to Court Security Officers. Although cell phones,
laptop computers, and similar electronic devices generally are not
permitted in the building, attorneys may bring those items with them
upon presentation to Court Security Officers of a Florida Bar card
(presentation of the Duval County Courthouse lawyer identification
card will suffice) or Order of special admission pro hac vice.!

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DONE and ORDERED in Jacksonville, Florida this © day of April,

2021. a) C

BRIAN J. DAVIS.
United States District Judge

 

1 Cell phones must be turned off while in the courtroom.
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Copies to:

Asst. U.S. Attorney (Taylor)
Jeremy Lasnetski, Esq.

United States Marshals Service
United States Probation Office
United States Pretrial Services
